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Class Settlement Payments
First Name      Last Name      Damages      9% Interest    Total Settlement Payment
Charity Hope    Abamonga         $10,905.34      $3,501.58        $14,406.92
Gloria          Agoto             $5,722.90      $2,575.22         $8,298.12
Elizabeth       Almazan          $26,967.79     $10,042.78        $37,010.57
Melanie         Alterado          $1,353.27        $487.18         $1,840.45
Lerio           Alvarado         $18,645.16      $6,778.81        $25,423.97
Lorna           Amindalan        $13,959.25      $9,404.46        $23,363.71
Robin           Ancheta           $8,043.47      $5,157.41        $13,200.88
Wilwen          Antigua          $11,479.15      $4,048.71        $15,527.86
Ophelia         Arana            $11,109.39      $3,677.17        $14,786.56
Melissa         Aranton          $23,413.32      $9,976.59        $33,389.91
Charisse        Arca             $32,451.54     $22,866.09        $55,317.63
Ivy Pearl       Arevalo          $10,214.99      $3,179.80        $13,394.79
May             Asotigue         $12,386.00      $5,573.79        $17,959.79
Michelle        Atayde           $33,870.75     $22,166.78        $56,037.53
Sonia           Austria          $19,397.62     $12,865.41        $32,263.03
Alexander       Bane             $13,579.60      $6,110.82        $19,690.42
Hyacinth        Baraan           $29,372.22     $16,047.67        $45,419.89
Diana           Bartolome         $1,441.20        $389.18         $1,830.38
Joan            Basinal           $2,597.09        $934.95         $3,532.04
Ryan            Bautista          $3,342.00      $1,503.90         $4,845.90
Clarissa        Baylon            $2,434.08        $876.27         $3,310.35
Redentor        Belvis            $2,785.55      $1,253.50         $4,039.05
Vivian          Blanco            $1,741.16        $626.82         $2,367.98
Ma. Charisma    Bolido            $1,211.58        $436.16         $1,647.74
Michelle        Borra             $8,360.51      $5,543.62        $13,904.13
Jackie          Budlong           $7,557.12      $4,373.57        $11,930.69
Noemi           Budlong           $7,818.81      $4,650.90        $12,469.71
Jaime           Buenaventura     $19,435.27      $6,707.44        $26,142.71
Julius          Bugante          $40,853.35     $22,904.77        $63,758.12
Jessica         Bunao            $11,471.00      $8,006.28        $19,477.28
Charisse        Butanas          $11,050.00      $6,961.50        $18,011.50
Roper           Caguan            $3,119.63      $1,684.60         $4,804.23
Ma. Fatima      Caguete             $841.55        $227.27         $1,068.82
Frederick       Calara           $32,479.50     $20,665.56        $53,145.06
Mariano         Calimag           $5,257.10      $1,892.63         $7,149.73
Shiela Marie    Caluag            $3,644.13      $1,967.87         $5,612.00
Nur‐Ainie       Calvi            $34,578.75     $22,185.27        $56,764.02
Rizalie Ann     Camacho           $5,910.84      $1,595.99         $7,506.83
Bridelyn        Caoagas          $20,952.50     $12,441.16        $33,393.66
Arlene          Carpio            $4,152.56      $2,989.84         $7,142.40
Cecile          Carreon          $28,492.10     $13,234.63        $41,726.73
Maria Theresa   Casado           $11,236.84      $4,045.32        $15,282.16
Christine       Castro           $24,945.50     $12,414.89        $37,360.39
Dymonde         Catiling          $3,025.75      $1,089.27         $4,115.02
Lorie           Cedilla           $5,558.25      $3,400.86         $8,959.11
Analyn          Chua              $8,716.09      $6,275.58        $14,991.67
Jennifer A.     Chua              $1,906.38        $857.87         $2,764.25
Mylyn           Clerigo          $28,345.66      $9,630.38        $37,976.04
Darwin          Costales         $19,859.50     $12,511.11        $32,370.61
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Theresa             Cotaco         $39,155.50   $21,631.55   $60,787.05
Maria Socorro R.    Cruz           $12,645.69    $3,414.43   $16,060.12
Charie              Dagui          $16,435.86    $6,126.70   $22,562.56
Germaine Kristina   Dano            $2,069.46     $745.01     $2,814.47
Marian Ritz         De Los Reyes   $23,414.05    $9,660.37   $33,074.42
Joanne R            Dela Rosa      $26,663.50   $14,456.29   $41,119.79
Donald L            Doles          $23,715.17    $8,608.07   $32,323.24
Everlyn C           Domingo        $10,259.62    $6,033.77   $16,293.39
Luann M             Duterte        $39,933.00   $22,924.33   $62,857.33
Vilma               Egina           $9,502.50    $6,530.40   $16,032.90
Blossom             Engbino        $21,250.71    $6,647.48   $27,898.19
Alvin               Flores         $28,320.50   $18,418.05   $46,738.55
Wences              Fuertes        $17,540.39    $5,447.70   $22,988.09
Primera             Gadia          $17,877.78   $11,610.36   $29,488.14
Nathaniel           Galapon         $1,319.06     $593.58     $1,912.64
Rogelio             Galliguez      $15,950.59    $5,840.65   $21,791.24
Desiree             Gardon         $16,009.10    $5,055.61   $21,064.71
Heidi               Giron          $16,533.00   $13,919.49   $30,452.49
Tiffany             Go              $9,036.33    $6,349.09   $15,385.42
Perciela B          Herrera         $1,743.25      $784.46    $2,527.71
Mary Ann            Heyrana         $8,470.18    $2,036.22   $10,506.40
Mary Mildred        Hontucan       $18,229.52   $11,206.62   $29,436.14
Diala               Hular          $16,040.84    $4,637.58   $20,678.42
Ronaldo             Ignacio         $2,158.74     $777.14     $2,935.88
Irene               Imperial        $5,584.67    $2,513.16    $8,097.83
Cynthia B           Ince            $2,206.32    $1,191.30    $3,397.62
Sheila              Jordan          $1,444.18     $519.98     $1,964.16
Ma. Ruth            Jose           $32,228.37   $21,307.89   $53,536.26
Ernesto             Lagliba        $18,743.75   $11,035.45   $29,779.20
Elenee              Largado        $28,772.25   $16,143.64   $44,915.89
Arch Knievel        Layumas        $19,893.45    $6,049.14   $25,942.59
Hermie‐Linda        Legaspi         $3,251.38    $1,463.32    $4,714.70
Anna Marie          Leones         $14,505.27    $9,138.32   $23,643.59
Kristina            Limjuco        $21,836.50   $13,097.51   $34,934.01
Cherry              Llaneza        $34,486.15   $23,435.42   $57,921.57
Jamie               Llarena        $19,245.50   $12,639.99   $31,885.49
Rachel Ann          Loresto         $2,755.38      $743.95    $3,499.33
Lanie Alvarez       Maagad         $30,216.90   $16,096.36   $46,313.26
Gladys Tato         Macanas         $8,081.29    $1,719.87    $9,801.16
Arlyn               Manrique        $2,413.90      $651.72    $3,065.62
Madelyn             Manuel          $7,286.43    $2,388.96    $9,675.39
Maricel             Marcelo         $3,816.49    $1,373.94    $5,190.43
Mark                Maristela      $16,658.24    $6,956.60   $23,614.84
Maria Grace         Mimay           $2,588.36    $1,397.66    $3,986.02
Ermelinda           Monderin        $2,880.75    $1,296.25    $4,177.00
Armida              Nicolas         $4,183.23    $1,882.48    $6,065.71
Marilou             Orlina           $383.88      $214.29      $598.17
Margaret            Padernal       $13,513.00    $6,680.94   $20,193.94
Rose Ann            Paguirigan     $10,263.13    $4,611.15   $14,874.28
Irma                Pagulayan      $13,842.07    $5,541.68   $19,383.75
May Angelique       Palo           $27,680.25   $15,168.13   $42,848.38
Noreen              Paronda        $16,916.32    $6,375.22   $23,291.54
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Maria Ely         Perolino              $3,556.83    $1,600.61       $5,157.44
Maria Isabel      Pintor               $15,824.41    $4,949.31      $20,773.72
Cheryl Anne       Poe                  $10,953.22    $2,957.34      $13,910.56
Perix             Pregides Payne       $14,240.07    $4,602.76      $18,842.83
Ma. Teresita      Purugganan           $20,162.50    $6,237.96      $26,400.46
Leonila           Racraquin             $3,660.16    $1,298.49       $4,958.65
Eunice            Ramirez              $17,174.28    $6,375.79      $23,550.07
Christie Rose     Ramos                $19,313.28   $13,107.64      $32,420.92
Geraldine D       Ramos                $15,232.30    $8,638.95      $23,871.25
Riza              Renomeron            $24,901.05   $13,974.25      $38,875.30
Petronillo Noel   Reyes                $36,354.25   $19,589.90      $55,944.15
Rosalie           Reyes                $15,630.75    $9,313.40      $24,944.15
Evita Bello       Rodriguez            $10,000.00        $0.00      $10,000.00
Roselle           Santos                $5,503.23    $1,941.01       $7,444.24
James             Soriano               $2,170.73      $976.82       $3,147.55
Lelita            Suan                   $911.31      $328.07        $1,239.38
Kathleen          Sundo                 $4,830.70    $1,739.05       $6,569.75
Madel             Tagalog Sta Teresa   $23,390.20    $8,995.87      $32,386.07
Anna              Talento              $10,075.68    $2,720.49      $12,796.17
Sheryl Botin      Tirol                 $2,815.99    $1,013.76       $3,829.75
Aleli             Turqueza              $4,648.21    $1,583.09       $6,231.30
Jim               Untalan               $6,950.02    $1,876.44       $8,826.46
Virgilio          Valencia             $19,569.14    $6,126.97      $25,696.11
Evangeline        Valenzuela             $371.39      $100.24         $471.63
Mark              Vetus                $10,572.93    $4,696.40      $15,269.33
Maricar           Villarin              $7,468.35    $2,457.03       $9,925.38
Amabelle          Yap                   $4,970.42    $2,684.07       $7,654.49
Melodee           Zamora                $4,677.00    $2,285.16       $6,962.16

                  Total Payments to Class Members                $2,579,872.63
                  Named Plaintiff's Incentive Payment               $10,000.00
                  Requested Attorneys' Fees and Costs             $621,432.43

                  TOTAL SETTLEMENT PAYMENT                       $3,211,305.06
